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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION

PETER W. ANDERSON, JR.,                             )
                                                    )
                       Plaintiff,                   )
                                                    )
v.                                                  )      Case No.: 3:20-cv-5-CRS
                                                    )
CHARTER COMMUNICATIONS AND                          )
CHRISTOPHER CORNETT                                 )
                                                    )
                       Defendants.                  )

                                     NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Charter Communications, Inc.

d/b/a Spectrum (“Charter”) hereby removes the above-entitled case from the Circuit Court for

Jefferson County, Kentucky to the United States District Court for the Western District of

Kentucky, Louisville Division. In support of this Notice, Charter states as follows:

        1.     On December 4, 2019, Plaintiff commenced a civil action denominated as Peter

W. Anderson v. Charter Communications D/B/A Spectrum and Christopher Cornett, Case No.

19-CI-007574 (the “Complaint”) in the Circuit Court for Jefferson County, Kentucky.

        2.     On December 5, 2019, Charter was served with the Complaint via certified mail

received on that date by Corporation Service Company, Charter’s registered agent for service of

process in Kentucky.

        3.     Upon knowledge and belief, Plaintiff has not lawfully served Defendant

Christopher Cornett (“Cornett”) with the Complaint, or otherwise joined him in this lawsuit.




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II.      THE COURT HAS DIVERSITY JURISDICTION OVER THIS LAWSUIT

         4.    The Court has jurisdiction over this civil lawsuit because there is diversity of

citizenship between the parties and the amount in controversy exceeds $75,000, exclusive of

interest and costs. See 28 U.S.C. § 1332(a).

         A.    The Parties Are Citizens of Different States

         5.    Upon information and belief, and at all times relevant to this action, Plaintiff has

been a resident of Kentucky and a citizen of the State of Kentucky for purposes of this Court’s

jurisdiction. See Complaint (“Compl.”) at ¶1, attached as Exhibit A.

         6.    Charter is a corporation incorporated in the State of Delaware.

         7.    Charter’s home office is located in Stamford, Connecticut, where Charter’s high

level officers direct, control, and coordinate Charter’s activities.      Accordingly, Charter’s

principal place of business is in Stamford, Connecticut. See Main v. Rio Tinto Alcan Inc., No.

4:12-CV-00110-JHM, 2013 WL 228526, at *2 (W.D. Ky. Jan. 22, 2013).

         8.    As a result, Charter is a citizen of Delaware and Connecticut for purposes of 28

U.S.C. §1332 and 28 U.S.C. § 1441.

         9.    Cornett is and has been, at all times relevant to this action, a resident of Indiana

and a citizen of the State of Indiana for purposes of this Court’s jurisdiction. See Exhibit A,

Compl., ¶3.

         10.   There is complete diversity of citizenship because Plaintiff is a Kentucky citizen,

and Charter and Cornett are citizens of foreign states. See 28 U.S.C. § 1332(a).

         B.    The Amount in Controversy Exceeds $75,000, Exclusive of Interest and Costs

         11.   The amount in controversy requirement under 28 U.S.C. § 1332(a) requires the

matter in controversy to exceed the sum or value of $75,000, exclusive of interest and costs.



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       12.     Plaintiff filed this lawsuit seeking compensatory damages for injuries he allegedly

sustained, including “lost wages, benefits, perks, personal financial loss, mental pain and

suffering, embarrassment, and mortification of feelings.” See Exhibit A, Compl., ¶¶49-50; 75.

Plaintiff also seeks punitive damages from Charter. See id., ¶¶70, 76.

       13.     Plaintiff was a full-time employee of Charter from March 1, 2002 until December

20, 2018.    In 2018, Plaintiff’s annual, pre-tax income from Charter was $77,704.10, plus

benefits. Back pay is a potentially recoverable damage for wrongful termination claims in

Kentucky. Dollar Gen. Partners v. Upchurch, 214 S.W.3d 910, 918 (Ky. Ct. App. 2006). “Back

pay includes all damages incurred as a result of the wrongful termination until the date of trial

and is distinctively different from front pay.” Id. Indeed, “[c]ourts have noted that ‘[b]ack pay

accrued through the projected trial date is properly included in the amount-in-controversy

calculation where ... the plaintiff seeks past and future wages.’” Id. (internal citations omitted)

(quoting Blocker v. PPG Indus., Inc., No. 3:17-CV-29-DJH, 2017 WL 3431136, at *3 (W.D. Ky.

Aug. 9, 2017)). Here, in support of his wrongful termination claim, Plaintiff has requested

“damages in the form of lost wages, benefits, perks . . .”. Thus, Plaintiff’s alleged back pay

damages which, at the time of filing this Notice includes over one year of lost wages and

benefits, are at least $77,704.10.   Accordingly, the amount in controversy, particularly the

amount in controversy through trial, clearly exceeds $75,000 in back pay alone. See Offutt v.

Kemper Corp., No. 3:18-CV-00438-RGJ, 2019 WL 1427558, at *3 (W.D. Ky. Mar. 29, 2019).

       14.     Plaintiff also requests damages for emotional distress, pain and suffering, and

punitive damages, which are recoverable under several of Plaintiff’s claims. See Exhibit A,

Compl., ¶¶41, 51, 57, 70, 75, 76, 81, 86, 97, 108, 117, 122. Compensatory damages for

emotional distress and pain and suffering are potentially recoverable under several of Plaintiff’s



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claims. Burgess v. Taylor, 44 S.W.3d 806, 810 (Ky. Ct. App. 2001). Punitive damages are also

recoverable under several of Plaintiff’s claims.    Burton v. Swicker and Assoc’s, PSC, 978

F.Supp.2d 759, 773 (E.D. Ky. 2013); Burgess, 44 S.W.3d at 810.

       15.     Given Plaintiff’s claims for lost wages, which alone exceed $75,000, Plaintiff’s

requests for emotional distress, pain and suffering, and punitive damages further demonstrate

that the amount in controversy exceeds the $75,000 minimum threshold. See Offutt, 2019 WL

1427558, at *3; see also Heyman v. Lincoln Nat’l Life Ins. Co., 781 F. App’x 463, 473 (6th Cir.

2019) (noting “even a 2:1 ratio of punitive damages to compensatory damages would place the

amount in controversy in [Plaintiff’s] case well over $90,000, irrespective of attorneys’ fees and

any other damages to which [Plaintiff] claims he would be entitled.”).

III.   ALL PROCEDURAL REQUIREMENTS FOR REMOVAL ARE MET

       16.     The United States District Court for the Western District of Kentucky, Louisville

Division is the appropriate venue for removal of Plaintiff’s state court action pursuant to 28

U.S.C. § 1441, which permits any civil action brought in any state court in which the District

Courts of the United States have original jurisdiction to be removed to the District Court of the

United States for the district and division embracing the place where the state court action is

pending.

       17.     On December 5, 2019, Plaintiff served Charter with the Complaint. Pursuant to

28 U.S.C. §1446(b), Charter timely files this Notice of Removal within 30 days after service of

the Complaint on Charter.

       18.     Pursuant to 28 U.S.C. § 1446(a), Charter attaches a copy of Plaintiff’s Summons

and Complaint, as well as the Certificate of Service of the Summons and Complaint filed with




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the state court, as Exhibit A. Exhibit A constitutes all process, pleadings, and orders filed with

the state court.

        19.        Pursuant to 28 U.S.C. § 1446(d), prompt written notice of this Notice of Removal

is being sent to Plaintiff through her counsel and to the Clerk of Court for the Jefferson County,

Kentucky Circuit Court. Copies of the notices are attached hereto as Exhibit B.

        20.        Charter submits this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiff, without conceding that Plaintiff has pled claims upon which relief

can be granted, and without admitting that Plaintiff is entitled to any monetary or equitable relief

whatsoever (or that the damages he seeks may be properly sought).

        21.        Charter reserves the right to amend or supplement this Notice of Removal.

        WHEREFORE, Defendant Charter Communications, Inc. d/b/a Spectrum prays that the

above-referenced action now pending in the Circuit Court for Jefferson County, Kentucky, Civil

Action No. 19-CI-007574, be removed in its entirety to this Court, as provided by law, and

pursuant to 28 U.S.C. § 1446(d), that the Circuit Court for Jefferson County, Kentucky proceed

no further unless and until the case is remanded.

                                         Respectfully submitted,

                                                BINGHAM GREENEBAUM DOLL LLP

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                                                Local Counsel for Defendant Charter

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                                              Lead Counsel for Defendant Charter
                                              Communications, Inc.



                                  CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies the foregoing NOTICE OF REMOVAL was filed via
the Court’s CM/ECF System on this 3rd day of January, 2020, and served via first class mail, postage
prepaid, with a courtesy copy via email upon:

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                                       /s/ Kimberly J. O’Donnell




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